Case 3:24-cv-02311-TSH   Document 57-22   Filed 10/08/24   Page 1 of 3




           EXHIBIT 22
                           Case 3:24-cv-02311-TSH                           Document 57-22                    Filed 10/08/24               Page 2 of 3

Analysis of Scheduled Airline Traffic
COMPARATIVE TRAFFIC REPORT                                                                                            San Francisco International Airport
Sep 2023

                                                                                    Monthly Comparison                                          Calendar Year-to-Date
                                                                Sep 2023              Sep 2022          % Change                        2023            2022     % Change
Air Traffic Control Tower Operations Count1                         33,208                30,972            7.2%                      287,524         265,625        8.2%
            Air Carrier                                             29,726                26,621              11.7%                   257,367         223,707       15.0%
                Air Taxi                                              2,542                 3,279            -22.5%                    22,801          32,801       -30.5%
                Civil                                                   715                   822            -13.0%                     5,286            6,911      -23.5%
                Military                                                225                   250            -10.0%                     2,070            2,206       -6.2%


Total Revenue Landings                                              15,049                13,884               8.4%                   134,413         119,411       12.6%
      Mainline Passenger                                            11,554                10,623               8.8%                   100,766          87,453       15.2%
      Commuter Passenger                                              3,283                 3,028              8.4%                    31,721          29,740        6.7%
      Cargo Only                                                        212                   233             -9.0%                     1,926           2,218       -13.2%


Revenue Landed Weight (000 lbs.)                                2,994,096              2,670,547              12.1%              25,982,963         22,111,725      17.5%


Total Airport Passengers2                                       4,334,082              3,894,571              11.3%              37,463,498         30,888,907      21.3%

Total Enplaned & Deplaned                                       4,317,296              3,881,915              11.2%              37,350,326         30,783,005      21.3%
      Total Enplaned                                            2,155,257              1,940,879              11.0%              18,578,910         15,321,906      21.3%
      Total Deplaned                                            2,162,039              1,941,036              11.4%              18,771,416         15,461,099      21.4%

Domestic                                                        3,072,522              2,886,070               6.5%              26,832,809         23,685,612      13.3%
      Enplanements                                              1,539,656              1,446,118               6.5%              13,398,858         11,799,613      13.6%
      Deplanements                                              1,532,866              1,439,952               6.5%              13,433,951         11,885,999      13.0%

International                                                   1,244,774                995,845              25.0%              10,517,517          7,097,393      48.2%
      Enplanements                                                 615,601               494,761              24.4%               5,180,052          3,522,293      47.1%
      Deplanements                                                 629,173               501,084              25.6%               5,337,465          3,575,100      49.3%


Total U.S. Mail (metric tons)                                         1,535                 1,784            -14.0%                    14,374          19,423       -26.0%
      Domestic                                                          582                 1,497            -61.1%                     9,545          15,420       -38.1%
      International                                                     953                   287           232.1%                      4,829            4,003      20.6%


Total Cargo3 (metric tons)                                          40,546                35,721              13.5%                   332,607         352,487        -5.6%
  Domestic                                                          15,259                12,932              18.0%                   127,803         132,153        -3.3%
      International                                                 25,287                22,789              11.0%                   204,804         220,334        -7.0%


Total Cargo and U.S. Mail (metric tons)                             42,080                37,506              12.2%                   346,981         371,910        -6.7%


Cars Exited (Garage and Lot)                                       250,809               232,978               7.7%               2,349,456          2,016,839      16.5%

1
    Categories defined as follows:
         Air Carrier - Commercial airlines and charters of aircraft with more than 60 seats (Terminal and FBO operations included).
         Air Taxi - Commercial airlines and charters of aircraft with 60 seats or less (Terminal and FBO operations included).
         Civil - Privately operated aircraft
         Military - Military Aircraft
2
    Total airport passengers include total enplaned and deplaned passengers and passengers who fly into and out of SFO on the same aircraft.
3
    Excludes mail




Monday, November 6, 2023                                                              - 1 of 1 -
                      Case 3:24-cv-02311-TSH                           Document 57-22                   Filed 10/08/24                  Page 3 of 3


Analysis of Scheduled Airline Traffic
INTERNATIONAL SUMMARY REPORT                                                                                San Francisco International Airport
Sep 2023



                                                                             Monthly Comparison                                         Calendar Year-to-Date
                                                              Sep 2023           Sep 2022        % Change                      2023                 2022    % Change
International Flight Operations                                    6,142               5,232        17.4%                     52,500              41,990       25.0%
Domestic Carriers                                                  2,292               1,796           27.6%                  20,924              14,848       40.9%
Foreign Flag Carriers                                              3,850               3,436           12.0%                  31,576              27,142       16.3%


Total Airport International Passengers **                     1,258,202           1,008,109            24.8%             10,614,677            7,192,277       47.6%

Total International Enplaned and Deplaned                     1,244,774             995,845            25.0%             10,517,517            7,097,393       48.2%

   Europe                                                       435,587             394,924            10.3%              3,154,261            2,636,863       19.6%
      Enplanements                                              221,864             199,614            11.1%              1,577,196            1,319,577       19.5%
      Deplanements                                              213,723             195,310             9.4%              1,577,065            1,317,286       19.7%

   Asia/Middle East                                             461,018             277,551            66.1%              4,029,422            1,939,978      107.7%
      Enplanements                                              216,644             133,539            62.2%              1,945,845              941,998      106.6%
      Deplanements                                              244,374             144,012            69.7%              2,083,577              997,980      108.8%

   Australia/Oceania                                              70,329              50,824           38.4%                 658,526             323,775      103.4%
      Enplanements                                                34,966              25,001           39.9%                 319,510             159,239      100.6%
      Deplanements                                                35,363              25,823           36.9%                 339,016             164,536      106.0%

   Latin America                                                  92,734            104,094           -10.9%              1,237,417            1,144,455        8.1%
      Enplanements                                                47,162              52,626          -10.4%                 614,006             565,391        8.6%
      Deplanements                                                45,572              51,468          -11.5%                 623,411             579,064        7.7%

   Canada                                                       185,106             168,452             9.9%              1,437,891            1,052,322       36.6%
      Enplanements                                                94,965              83,981           13.1%                 723,495             536,088       35.0%
      Deplanements                                                90,141              84,471            6.7%                 714,396             516,234       38.4%


Total International Cargo & Mail (metric tons)                    26,240              23,076           13.7%                 209,633             224,337        -6.6%
   Europe                                                          5,641               6,871          -17.9%                  51,347              65,383       -21.5%
   Asia/Middle East                                               17,986              14,791           21.6%                 137,688             145,609        -5.4%
   Australia/Oceania                                               2,292               1,136         101.7%                   18,334              11,837       54.9%
   Latin America                                                       63                  53          18.8%                      445                 537      -17.0%
   Canada                                                             258                225           14.5%                   1,818                  972      87.1%



** Total airport international passengers include total enplaned and deplaned passengers and passengers who fly into and out of SFO on the same aircraft




Monday, November 6, 2023                                                          - 1 of 1 -
